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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK


    RAYMOND A. CARRUTHERS,                                              A~ENDED COMPLAINT

                          Plaintiff,
                                                                        Civil Action Number:
            v.                                                          6:20-CV-399 (FJSffWD)




y
    KIMBERLY COLTON, individually;
    CIIARLE8 llUMPIIREYVILLE;                                           JURY TRIAL
    indi'liduelly; KRISTINE WESTON                                      DEMANDED
    indMduell~·;

I                         Defendants .


    Plaintiff RAYMOND A. CARRUTHERS by and through his attorneys David Longeretta, Esq.

    and Zachary C. Oren, Esq . .M_for his Amended Complaint against Defendant,s respectfully

    alleges as follows:

                                       JURISDICTION AND VENUE

        I. This action is brought in part pursuant to§§ 1983 and 1988 of Title 42 of the United

           States Code and the FetmltFifth, Fourteenth and Sixth Amendments to the United States

           Constitution . This action is for money damages to redress the deprivation by the

           Defendants of rights secured to the Plaintiff by the Constitution and laws of the Untied

           States and State of New York. Jurisdiction of this Court is invoked under provisions of

           28 U.S.C. §§ 1331 , 1343(3), and 1367 (A) and the aforementioned statutory and

           constitutional provisions.

       2. The facts of which this action arises out of occurred within the United States District

           Court for the Northern District of New York.

                                               PARTIES
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3. Plaintiff, RAYMOND A . CARRUTHERS, during all relevant times herein was and is

   an adult and a citizen of the United States of America and residing in the State of New

   York.

4. New York State, during all relevant times herein by virtue of its law operates a state

   police force called the New York State Police, who maintains a state police barracks at

   263 Carder Lane Road, Frankfort, New York 13340 (hereafter "Schuyler barracks" or

   "the station") and said state and barracks are located in the No11hern District of New

   York and employed the above captioned Defendants at all relevant times herein.

5. Defendant KIMBERLY COL TO , during all relevant times herein is or was a duly

   appointed Trooper for the New York State Police and charged with caring out her lawful

   duties and responsibilities in accordance with the law. Defendant KIMBERLY

   COL TON is sued as an individual. Upon information and belief KIMBERLY

   COLTON'S professional address was the Schuyler barracks.

6. Defendant KIMBERLY COL TON, has been a State Trooper for over eighteen years

   and during four years of her service she received the Trooper of the Year award for her

   driving while intoxicated (hereafter "DWI") arrests.

7. Defe11dant CIIARLE8 IIUMPHREYVILLE, d1:1ring all rele~·ant tiFHes herein is er was

   a d1:1ly Bflfleinted Tree19er fer the New ¥erk State Peliee and eharged witl1 earing eut hi s

   lawful d1:1ties and res19ensieilities in aeeerdanee witl1 tl1e law. Defendant CHl,RLE8

   HUMPHREYVILLE is s1:1ed as an indi~·idual. Upen infem1atien a11d eeliefCHARLES

   HUMPHREYVILLE'813refessienal address was tl1e Sel1uyler ean-aelcs.

&LDefendant KRISTINE WESTON, during all relevant tin1es herein is er was a duly

   appernted Tree13er fer the ~Jew ¥erk State Peliee a11d eharged 'n'ith earing eut her la.vful




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     is s1:1ea as af! iRdivid1:1al. UpeR iRfermatieR aRd belief KRISTINE WESTON'S

     prnfessieHal address was the Selmyler baHaelcs.

               AS AND FOR A FI RST CAUSE OF ACTION
 A FEDERAL CLAIM OF FABRICATION OF EVIDENCE IN VIOLATION OF T H E
  FOURTEENTH, FIFTH AND SIXTH AMENDMENTS BROUGHT UNDER§ 1983
 MALICIOUS PROSECUTION IN VIOLATION OF THE FOURTH AMENDMENT
    BROUGHT UNDER§ 1983 AGAINST DEFENDANTS K I MBERLY COLTON,
CHARLES HUMPHREYVILLE, KRISTINE WESTON I N HER THE+R-I ND I V I DUAL
                           CAPACITY JES

 i),.li, Plaintiff at approximately September 4 , 2017 at 9:30 pm was operating his vehicle on

     interstate 90.

 +(}.._9._ _ Due to it being dark Plaintiff was driving his vehicle slowly as he has a hard time

     seeing at night and it was cloudy.

 ++,_J(_)._ _ Defendant Colton conducted a motor vehicle stop of the vehicle Plaintiff was

     driving.

 -8-c_l_I._ _ Defendant Colton asked Plaintiff for his license and registration which he duly

     complied with the request.


 H-c.Ll.c__Plaintiff did not exhibit glassy eyes during the stop.


 -1-+.l..l....__Plainti ff was alert and responsive during the stop .


 B-c_l 4_._ _ At the time of the stop Plaintiff believed that he was not free to leave.


 +tr._15_._ _ At the time of the stop Plaintiff was not free to leave.

 ++._16_._ _ During said stop Defendant Colton attempted to administer four field sobriety

     tests, only three of which are standardized.




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    +8-:-_17_._ _ Specifically, those tests were "Gaze Nystagmus", walk and turn, one leg stand

         and Rhomberg.

    +-9-c_l8_._ _ However, during the suppression hearing in Utica City Court Defendant Colton

         could not testify to which "Gaze Nystagmus" test she applied, as there are different types.

    ~_1_9 .___ Furthermore, during the suppression hearing in Utica City Court Defendant

         Colton could not define what "Gaze Nystagmus" meant.

    ~ ~Specifically, Defendant Colton was trained on the National Highway Traffic

         Safety Administration Student Manual (hereafter "NHTSA Manual") in the police

         academy in 2000 which is the only DWI training she has received and has not received

         any in-service nor refresher training courses.

    ~lL__Although Defendant Colton could not testify to what "Gaze Nystagmus" test she

         was applying, but it appears based on her testimony she was attempting to apply the

         "Horizontal Gaze Nystagmus" test [hereafter "HGN"].

    fr-.:u.,___ Defendant Co lton incorrectly and inappropriately applied the HGN according to

         the NHTSA Manual.

    ~ ,11._First Defendant Colton inappropriately conducted the HGN test because when she

         began the test Plaintiff did not exhibit equal tracking 1• As such the NHTSA Manual

         dictates that the test cannot be used because the suspect could be suffering from disability

         and/or injury.

    fr.J.:L__ However, instead of following the NHTSA Manual , Defendant Colton failed

         Plaintiff on the HGN on this basis.




1 The HG N is a standard field sobriety test which measures the involuntarily mo vements in a suspect ' s eyes caused

by alcoholic intoxication. The term ""equal tracking" refers to the ability of the eyes to track together when the
subject attempts to follow an object mo vi ng side to side.


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2 - e . ~Moreover, Defendant Colton incorrectly conducted the HGN when she held the

   stimulus six inches away from Plaintiffs face when the NHTSA requires that the

   stimulus be held twelve to fifteen inches from the suspect ' s fa ce.

~ l t h _As for the walk and turn standard field sobriety test Defendant Colton testified, on

   direct examination by the Assistant District Attorney, as follows, at the suppression

   hearing:

           Q. Okay. And so based on your observations and what you just indicated
           to the court did the Defendant pass or fail that test?

           A. Fai led the test.

           Q. And are there clu es in wh ich you are following to determine the
           Defendant passed or failed that test?

           A. That is Correct.

           Q. And do you know all of the clues for the walk and turn test? Do you
           know what the clues are for the walk and turn test?

           A. Each step has to be heel to toe, understand the instructions given with a
           short, choppy turn .

           Q . Okay. Do you know what the total amount of clues for the walk and
           turn test?

           A: Eight.

           Q: Eight. Can you list those eight clues?

           A: Not exactly, no.


~21.__As for the walk and turn standard field sobriety test Defendant Colton testified, on

   cross examination by the defense counsel , as follows at the suppression hearing:

           Q. Trooper, tell me the clues, the exact clues for the HGN. I' m sorry, for the walk
           and turn.




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  A . The exact clues. Every step needs to be heel to toe. When he gets to the turn it
  needs to be a short, choppy turn as demonstrated to him prior to the test begins.

  Q. So there 's three clues.

  A. There's three clues?

  Q. I' m asking you. ls there three clues?

  A. He failed all of the clues.

  Q. Okay. Again I am not going to let you get away with just giving generalities.
  ask you specifically if you know the eight clues of the walk and turn.

  A. Okay, I can tell you that he needs to have the heel to toe.

  Q. That's one.

  A. He missed the heel to toe on every step.

  Q. That one.

  A. The short, choppy turn.

  Q. Two.

  A. And he raise his arms up to his side, from his side.

  Q. Three. Give me another five.

  A. That's the extent of what I can provide you today.

  Q. Give me the other 5.
  A. That's the extent of what I can provide you/or the information today. He
  performed the test , he did not do the test as described and he was marked as
  failed.

  Q. Okay, so what studies have they done and published that shows the way you
  did your test, is there any?

  A . That's what I was trained to do in the Academy. I demonstrated it exactly the
  way I was trained to do in the Academy.

  Q. I asked you to tell me the clues. You told me there was eight clues. You told
  the District Attorney there's eight clues. Tell me the eight clues. So far I've



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           heard three. What are the other five clues that you look for? You said on your
           paperwork under the penalties of perjury that my client had eight clues on the
           walk and turn?

           A. That is correct.

           Q. Tell me the eight clues.

           A. I can't. (emphasis added).


~~         As for the remaining standard field sobriety test, the one leg stand Defendant
   Colton testified, on cross examination by the defense counsel as follows at the
   suppression hearing:

       Q. So the next one. Tell me about the one leg stand. How many clues are there?

       A. Four.

       Q. What are the clues?

       A. Okay. lfhe can hold his foot up, as described. His arms need to stay to his sides.
       We also observe for his front to back movement and side movement to remain stable.

       Q. Okay. What else?

       A. If he puts his foot down it' s a fail.

       Q. You already said that, hold his foot up. That's three, what's four?

       A. I explained to you what tests, how we perform the tests, which is a fail. That's all
       the information I can provide you with.

       Q. Under penalty ' s perjury you singed this document that says that my client had
       four clues. Tell me what the four clues are that you observed.

      A. I observed him unable to hold his foot up, put his foot down on four separate
      occasions, unable to keep his arms to his sides. That' s the infonnation I have as to
      why he failed that test.

3{hIL__The only remaining field test Defendant Colton preformed on Plaintiff was the

   Romberg test where they ask the suspect to estimate thirty seconds. However, Plaintiff




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    testified on cross examination by Defense Counsel that the Romberg test is not a

    standardize field sobriety test.

3-1-clQ_,______ After completing the deficient field sobriety tests, as factually alleged above,

    Defendant Colton asked Plaintiff to take a field breathalyzer which he refused , as he was

    entitled to do so as Defendant Colton had failed to establish the required probable cause

    to do so because of the defective field sobriety tests.

:H,_3_!.__Therefore, Defendant Colton placed Plaintiff under arrest for common law DWI a

    violation of New York Vehicular and Traffic Law§ 1192 (3).

:H-cl1....__Additionally, Plaintiff readily believes he passed these field sobriety tests,

    Defendant Colton's instructions were difficult to understand and the area where the tests

    perfonned was not level.

M-,ll___ Plaintiffwas placed in handcuffs, against his will and was cognizant of the

    detainment.

~lL__According to the Computer Aided Dispatch notes, after conducting the field

    sobriety tests and arresting Plaintiff, at 9:49:57 pm the results of Plaintiffs background

    check revealed that he only had one prior driver license suspension for failure to answer a

    court summons and had never had his driver ' s license suspended for any violations of the

    DWI sections of the New York 's Vehicular and Traffic Law. See,§§ 1192 and 1194.

Mr.&_Additionally, before Plaintiff had informed Defendant Colton that he wanted a

    blood test, she said that Plaintiff would be processed at the station and then he would be

    free to go.

J+.JSL_Defendant Colton transpo11ed Plaintiff to the State Police barracks in Schuyler,

    New York.




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.;&-;11._Upon arriving at the station, upon infonnation and belief Defendant Colton

    completed the CPL § 710.30 Notice. A true copy is attached hereto as Exhibit A.

J9-c.J.~_lmportantly, Defendant Colton recorded the conversation at the arrest scene and

    did not check either of the two boxes stating "Had Prior Alcohol Convictions" or "ls

    Currently DWI Susp/Revoc".

*.l.2c_Plaintiffwas subject to a breathalyzer test that generated a result of0.22% blood

    alcohol content.

-l+.4___Q_,___ Plaintiff when hearing the results of the breathalyzer test could not believe they

    were accurate so he asked to talk to his attorney, John Leonard, Esq., whom he called.

-&.4_1.__ During the call Defendant Colton, also spoke with Attorney Leonard, where he

    infonned her not to speak to his client about the arrest and Defendant Colton, testified she

    acquiesced to the request.

4J,4_L___During said call Defendant Colton, also said to Attorney Leonard that Plaintiff

   would be released unless there was a felony DUI arrest.

4 4 4 ~Additionally, according to Defendant Colton 's own CPL § 7 I 0.30 Notice and

    testimony at the suppression hearing she did not have any conversations with Plaintiff

    about his arrest at the station.

~±L__Additionally, during the call Attorney Leonard infonned the Defendant Colton

   that he was sending a phlebotomist to the station to collect Plaintiffs blood due to the

   unreliable breathalyzer test.

¾-A-2...._Defendant Colton testified at the suppression hearing that a phlebotomist did

   appear at the station to collect Plaintiff's blood for future testing.




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~           Upon infom,ation and belief Defendant Colton then , under penalty ofpe1jury,

    filed a false felony complaint to prevent Plaintiff from being released and getting his own

    independent test of his blood.

-1-&4__.L.___ The felony complaint is attached hereto as Exhibit B. Additionally it states, in

    part;

            " Further factual allegations in support of the charges are set forth in the
            Supporting Deposition and DWI Bill of Particulars and 710.30 Notice
            filed with the court herewith or heretofore.

            The allegations that the defendant has previously been convicted ofa New
            York State Vehicle and Traffic Law Section I I 92 offense and/or that the
            defendant ' s license or operating privilege in New York State has been
            suspended/revoked is based on the following:

                  [*] A computer check with the New York State Department of
            Motor Vehicles records access through the NY SPIN computer system;

                    [*] The defendant ' s oral admission to the previous conviction
            and/or suspension/revocation of license or operating privilege; ... "


49A_lL__ However, as factually plead above Defendant Colton testified she never talked to

    Plaintiff about any such suspensions and the Defendant Colton 's own CPL § 710.30

    Notice fails to state any.

~....2..c__Furthermore, Defendant Colton testified during the suppression hearing she relied

    on the Department of Motor Vehicles license search for Plaintiff to establish his alleged

    prior driver' s license suspension .

:)+j_Q,__   However, a search of Plaintiff's driving records with the Department of Motor

    Vehicles revealed no such suspensions.

~_5_1._ _ In addition to the felony complaint Defendant Colton filed against Plaintiff, she

    filed the other accusatory instruments against Plaintiff which are depicted in Exhibit C.




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~22.__Plaintiffwas then transported to the Utica Police Department to be held in lock-

    up.

~ i L _Plaintiffwas arraigned on the aforementioned charges and bailed out the next day.

: B c ~AeeomiAg to the testimoey of DefeAaaet Coltoe, Defeeaaet TFoopeF ChaFles

    H1:1mvhreyville   flllfl   Kristi11e Westo11 s1:1est11eti111ly p11rtieip11tea iA the 11rrest aea

    prnsee11tioe of Plaietiff.

~ ~Plaintiff had to retain Counsel to represent him on the aforementioned charges.

~l.Q.,___As a result of Defendant's intentional unconstitutional malieiet1s act of filing fal se

    aee11s11tory instFtlmeAtsfabricating evidence against Plaintiff, Plaintiff lost his drivers

    li cense due to the prompt suspension law of New York State until the charges were

    dismissed.

~}L_____The aforementioned suspension as a result of the aforementioned charges

    restrained Plaintiff's ability to travel free ly constituting a seizure of his person.

~28.,__Plaintiff did appear in court ten times in connection with this criminal

    prosecution .

f*.i2..,___At all relevant times herein , Plaintiff suffered a liberty restraint on his

    constitutional rights due to the intentional acts and/or omissions by Defendants .

(tt..,filL_At a ll relevant times herein, all named Defendants directly participated in the

    initiation and continuation of criminal proceedings against Plaintiff.

e:b_6_I._ __ The above mention acts were an unconstitutional seizure depriving Plaintiff of the

    use and enjoyment of his persons, papers, and effects in violation of the United States

    ConstitutionFomtl~ Ameeame1ll.




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h l - c ~The above mentioned acts deprived Plaintiff of Constitutionally protected liberty

   interests.

e+.t.,1__As a result of the aforementioned criminal prosecution Plaintiff was seized--wt#tttt

   the meoAiAg of the Fourth AmeAdmeAI.

~ t l _The above mentioned acts caused Plaintiff to suffer a ha1m of Constitutional

   proportions.

t t f r . ~At all relevant times herein, Defendants malicious !')Foseeu1edfabricated evidence

   against Plaintiff in bad faith by maliciously, willfully, intentionally, lying under oath in

   tltetr-her police reports and accusatory instruments to create probable cause.

6'.7-c{&,__At all relevant times herein , oil named Defendants directly participated in the

   initiation and continuation of criminal proceedings against Plaintiff.

ft&liL___ The said charges and subsequent prosecution were not supported by probable

   cause.

~The    said charges and subsequent prosecution were not supported by arguable probable

   cause.

69 . Defendant intentionally filed a fabricated the Supporting Deposition/DWI Bill of

    Particulars. a true copy of which is attached hereto as Ex h ibit F.                          · { Formatted: Font: Bold


70 . The Utica C ity Court found there was articu lable/ reasonable suspicion for the vehic le

   stop, but there was no probable cause for the subsequent DUI investigation and

   suppressed all of the evidence therein. A true copy of the Utica City Corn1 Decision and

   Order published September I 8, 20 18 is attached hereto as Exhibit D.




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71. On or about October 5, 2018 Plaintiff plead guilty to the remaining unsafe lane change

    charge and the remainder of the charges were dismissed. A trne copy of the guilty plea to

    the un safe lane c hange is attached hereto as Exhibit E.

72. The aforementioned dismissal was a tem1ination in Plaintiff's favor for pumoses of a

    fabrication of evidence cla11n .

73. The aforementioned criminal prosecution, confinement and damages Plaintiff sustained

    as a result thereof, was proximately caused by the intentional acts of the Defendant.

74 . At all rele, a1H tiffies, based e1~ the fuets as pied 111:Je•;e, Defendants intentienelly falsely

    arrested end rnelieiet1sly pF0seet1ted Plaintiff in vielatien ef !~is el earl)' estaalished Fewth

    Affiendrnent rights and Plaintiff arings this elai1fl t1nder 42 USC           ~   I 983 te ren~edy this

    Censtill:ltieHal Yielatien ·,vhieh eat1sed eenseietts i,ain afld st1ffering, attemeys fees. less

    ef ernpley1flent, 11tti,ettnd fees , teving fees, lest   If   ages, lest eenettts ef en~i,le; 1ttent, less

    efdriving privileges/lieense, ernetienal harm, mental angt1ish, less effreedern, less ef

    liee1t,, less efi,t1rst1it efhei,i,iness, less efthe t1se and enjeyment efhis prei,erty, less ef

    e1tjeyment ef heaaies, end less ef Feurth Arne11d1ttent rights.



            AS AND FOR A SECOND CAUSE OF ACTION
 A FEDERAL CLAIM OF FALSE ARREST IN VIOLATION OF THE FOURTH
AMENDMENT BROUGHT UNDER§ 1983 AGAINST DEFENDANTS KIMBERLY
  COLTON. CHARLES IIUMPIIREYVILU;, KRISTINE V/ESTON IN TIIEIR
                    INDIVIDUAL CAPACITIES

75 . Plai1Hiff repeats, restates and re alleges vdth the sa1fle feree and effeet tl~e ellegatiens ef

    eaeh efthe feregeing paragra13hs as if fully ineer13erated.

76. Plaintiff was net free te lea•;e.

77. Plaintifhvas eenseieus ef tl~e eenfinement 1:J;· Defendants.




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78. PlaiAtiff did Rot em1sent to tlie eonfiAement by DefeAdants.

79. DefeHdent iHteHtio1mlly eoHfiHed Plei1Hiffv1ilhout j:JFObeble eeuse aHdlor arguable

    prnbable ee11se.

80. DefeHdaHts' eoHfiHeme1H of PleiHtiffv,es Hot otherwise privileged.

81 . The eferemeHlioHed eo11fiHemeHt was proi<irna!ely eattsed b) the iHteittio1tal aets of the

    DefeHdeHts ei1ee111ed tuideF eoloF of law.

82 . /\! ell relevaAt times, l:lased OA the faets as j:Jled abo•ve, DefeAdaAts imeAtioAally falsely

    affested aHd tttalieiously proseeuted PlaiAtiff in YioletioA ofhis elearly established Fourtli

    ArneHdmeflt rights aHd PlaiHtiff briHgs this el aim !!!'Ider 4 2 USC § 1983 to remedy tliis

    CeHstitutieAel vieletiofl whieh eaused eoHseious pain afld suffeFiflg, attorneys fees , loss

    of employment, irnpetrnd fees, lewiHg fees , lest ,fages, lost betiefits of etttj:JloymeAt, loss

    of driving privilege/liee11se, emotional hafffi , rneHtel aHguish , less of freedom , loss of

    liberty, loss of pt1rs11it of heppiHess , loss of !he 11se eHd eajoyrneHt of his prnperty, loss of

    Cfljoyment of hobbies, a Ad loss of Fo11rth ,'\crneHdttteAI rights .




                AS AND FOR A THIRD CAUSE OF ACTION
A FEDERAL CLAIM OF FABRICATION OF EVIDENCE IN VIOLATION OF THE
 FOURTEENTH. FIFTH AND SIXTH AMENDMENTS BROUGIIT UNDER§ 1983
AGAJNST DEFENDANTS KIMBl',RLY COLTON, CHARLES HUMPHREYVILLE,
        KRISTl!lllE WESTON IN THEIR INDIVIDUAL CAPACITIES

83 . Plai1itiffrepee1s, Feslates aHd re alleges with the same foree aHd effeet Ille allegatieHs of

    eaeh efthe feFegeiHg perngraphs as if full) iHeOl'J"OFated.

8+.lL__As factually pied above in the foregoing paragraphs, at all relevant times herein,

    Defendants were-was an investigating officials - i.e. sworn New York State Police

   Troopers.




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~ ._75_._ _ As factua ll y p lead and detailed in the foregoing paragraphs, Defendants fabricated

    evidence to support a DWI criminal prosecution as well as the evidence concerning

    Plaintiffs sobriety.

86.~           As factua ll y plead and detai led in the foregoing paragraphs, the nature of this

    fabricated evidence would infl uence a jury' s decision in a crimina l tria l because of the

    impeachment and/ or probative (or lack thereof) va lue against Defendants, the evidence

    concerning Plaintiff s sobriety and the fabricated fe lony complaint to prevent Plaintiff

    from gathering his own evidence in defense of his criminal case.

&-+-,_77_.__ As factua lly plead and detai led in the foregoing paragraphs, Defendants

    forwarded this fa lse information to prosecutors from the Oneida County District

    Attorney ' s office, upon infonnation and belief, including but not limited the fol lowing

    documents: Ex hibit B - the felony comp laint attached hereto, Exhibit C - the

    infonnations attached hereto, and Exhibit F - the S~_ppo~in_gJ)eQosi_tio1_1/ Q\V_IJ3ill of        --1 Formatted: Font: Bold
    Particulars.

~1.JL__As factually plead and detailed in the forego in g paragraphs, Plaintiff suffered

    numerous deprivations of liberty as a result of th is fabricated evidence.

R   Defendants ' actions and/ or inactions caused Plaintiff to suffer the harms complain ed of

    here in.

80. Defendant actions where intentional and not a mistakes because as an experience state

    trooper for eighteen years. four years of which she was DWI trooper of the year. the

    following could not have been mistakes. but rather intentional fabrications :

        a. Statmg that Plaintiff had glassy eyes in the Supporting Deposition/ DWI Bill of

               Particulars when in fact he did not (See Exhibit F}~----------------------- _____ __   · · Formatted: Font: Bold
                                                                                                         Formatted: English (United States)




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b. Stating that Plaintiff had impaired motor coordination in the Supporting

     Deposition/DWI Bill of Particulars when he in fact did not (See Exhibit Fl;              ... ··{ Formatted: Font: Bold

c. Stating that she correctly perfonned an HGN field test in the Supporting

     Deposition/DWI Bill of Particulars. when m fact she could not even define the

     tenn Gaze Nystagmus, state which Gaze Nystagmus test she perfonned. nor

     properly conduct the test but nevertheless stated that she observed six clues when

     she should not even be conducting the test (See Exhibit Fl-                                     Formatted: Font: Bold
                                                                                                     Formatted: Font: Bold
d. Stating that she observed all eight clues on the standard walk and tum fie ld

     sobriety test in the Supporting Deposition/DWI Bill of Particulars but could only

     list three actual clues of the test on cross-examination (See Exhibit F);                   · · { Formatted: Font: Bold


e.   Stating that she observer all four cl use of the standard one leg stand field sobriety

     test in the Supporting Deposition/ DWI Bill of Particulars but could not list all

     four clues of the test on cross-examination (see Ex hibit F);    .                       ... · { Formatted: Font: Bold


f.   Filing a fal se felony complaint {see ,Exhibit B) stating that Plaintiffs computer            { Formatted: Font: Bold


     check and verbal admission had prior DWI convictions or driver license

     suspensions which contradicted her prior CPL 710.30 notice (See Ex hibit A) and            ·· { Formatted: Font: Bold


     prior Computer Aided Dispatch notes because Defendant only lodged the felony

     complaint upon learning that a phlebotomist was there to collect Plaintiff s bl ood

     and thus needed to fabricate a charge high enough to hold him so as to prevent th e

     collection of Plaintiffs blood by the independent phlebotomist; In fact. before

     Defendant knew that Plaintiff wanted a blood test she told Plaintiff and hi s

     attorney that he would be free to go;




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       Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 18 of 43




         ~ =g~.- -~T~h=e~U~t=ic=a~C~ity
                                     ~ C~o=u~rt~w~h=ic=h~l=1a=s~t=h=e~ju=r~i=sd=i=ct=io=n~to~fi=n=d~f:=ac=t=s~o=n~a   • -----i Formatted
              suppression hearing stated that following concerning Defendant's testimony:

              '"The testimony guoted above provides examples but does not adeguately capture

              Colton 's equivocation, failure of memorv, and Jack o[candor. Her testimonv                                         Formatted: Font Italic

                                                                                                                                  Formatted: Font Italic
              regarding probab le cause was neither reliable aor &redib/e. tferreca/1 was
                                                                                                                       •. . - -   Formatted: Font Italic

             se /eclive and self-s erving." (See ,Ex hibit D). Such a finding by the Utica City_                                  Formatted: Font: Italic

                                                                                                                                  Formatted: Font Italic
              Court, who is the Court charged with making such a credibility detennination                                        Formatted: Font Bold

              found intentional culpability on behalf of the Defendant.

 W-c_
    8 1_. _ _ At all relevant times , based on the facts as pied above, Defendants intentionally

     fabricated evidence against Plaintiff in violat ion of his c learly established Fifth , Sixth,

     and Fourteenth Amendment rights and Plaintiff brings this claim under 42 USC§ 1983 to

     remedy this Constitutional violation wh ich caused conscious pain and suffering, attorneys

     fees , loss of employment, lost wages, lost benefits of employment, loss of driving

     privilege/ license, emotional hann, mental anguish , loss of freedom, impound fees , towing

     fees , loss of liberty, loss of pursuit of happiness , loss of the use and enjoyment of his

     property, loss of enjoyment of hobbies, and loss of Fifth, Sixth, and Fourteenth

     Amendment rights.

          I N Tl-I E AL TE RNA T I VE FOR A FO URT H C AUSE O f ACT I ON
 A 42 USC § 1983 CLAIM Of FAI LU RE T O INTE RVENE ,-. GA INST DEFENDANTS
C H AR LES H UMP HR EYVI LLE, AND KRI ST INE WESTO N I N T H EIR I ND I VIDUAL
                                     C APAC I TIES

 91. Plaintiff Fef:)eats. Festates and Fe alleges with the smtte fume and effeet the allegations of

     eaeh of the foFegoi,ig f:)BFBgFBf:)lls as if full~ ineOFflOFated.

 92 . Based on tlie faets as plead aeo·,•e, at all Fele¥ant times the aeo~·e named Defenda1its had

    a Feasonaele oppomrnity to intePt'ene with the 1:1neonstit1:1tional pFosee1:11ion of Plaintiff.



                                                           17
       Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 19 of 43




93 . In faet the reeord details that the Defendants eneo1m1ged Emd aetively partieipated in tl1e

    tmeonstittttionel r,mseet1ti011 of PleiHtiff.

91. At all rele,a,H ti111es, based OH tl,e faets as !')led abo,•e, all named Defi!ndants failed to

    interveHe when PlaiHtiff's elearly established Fourth, Fifth, Si,tth, anel F0t1rtee11th

    AmeHd1'!lent Constinitionel Rights where eeing violated end Plaintiff brings this eleim

    under 12 USC § 1983 to remedy these Constitl:t!ionel Yiolet1ons whiel1 eet1sed eonse1et1s

    pain and suffering, e1tomeys fees. loss of employment, lost wages, lost eenefils of

    et'llf}loyment, loss of driving privilegesllieense, emotional hart'!!, t'!lentel engttish. loss of

    freedoicn, iml')ound fees, towing fees, loss of lieerty, loss of l'lursttit of hal')piAess, loss of

    tl,e ttse and eajoyn,ent ofl,is JHOl')erty, loss of eAjoymeAt oflrnbbies. end loss of Fomtl,

    Fiflh, Si,tth. and Fomteenth Amend1'!lent rights.



WH ERE FORE, Plaintiff demands judgment aga inst !Ht-lfle-Oefendants. eaeh of them,

joiHtly aAd se'>'ernll)', fo r as fo llows:

             A. Monetary compensatory da mages to be determined by a jury, including but

                  not limited to, conscious pain and suffe ring, attorn eys fees, loss of

                  employment, lost wages, lost benefits of empl oyment, loss of driving

                  pri vileges/li cense, emotional harm , menta l angui sh, loss of freedo m, impoun d

                  fees, towing fees, loss of liberty, loss of pursuit of happiness, loss of the use

                 and enjoyment of his pro perty, loss of enjoyment of hobbies, and loss of

                 fituft.Jr, Fifth, Sixth , and Fourteenth Amendment rights;

             B. Punitive damages to be determined by a jury;




                                                 18
       Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 20 of 43




           C. Attorneys fees as part of costs and the costs of this action pursuant to 42 USC

               § 1988;

            D. Such other and further relief as this Court determines to be just, fair,

               appropriate, and proper.

                                     JURY DEMAND

Plaintiff demands a jury trial of all claims stated herein.




                                               19
     Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 21 of 43




                                                             Respectfully submitted,



Dated: April 3, 2020                  2022                                /s Zeeht1r11 C. 01'eli
                                                            Zachary C. Oren, Esq.
                                                             A1torney for P/ainl!/f
                                                            Federal Bar Roll Number 603001
                                                            40 I Rutger Street
                                                            Utica, Y 13501
                                                            Cell: (570) 441-8818
                                                            Email: z.c.oren@gmail.com



Dated: Apt48_ _ _ _ _ _ , 2022.G
                                                             s !Je·;id Lenge,"e/le
                                                             David Longeretta, Esq.
                                                             Law Office of David A.
                                                             Longeretta, PLLC
                                                            Attorney for Plaintiffs
                                                             Federal Bar Roll Number 507602
                                                            298 Genesee Street
                                                            Utica, Y l 3502
                                                            Tel. : (315) 735-6162

To : Jonathan Reiner, Esq. (via CMi ECF fjlin[:) _____________ __ _                                _.   { Formatted: Font Italic
    Assistant Attorney General
    Attorney for Defendant




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Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 22 of 43
                               Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 23 of 43
                                                                                                   710.30 NOTICE
        LOCAL CRIMINAL                 COURT:              CITY                   OF:                     'UTICA
PEOPLE V.                 CARRUTHERS                 RAYMOND                                A                      Arrest#
                          (Last)                         (First)                        (Middle)                    777229
PLEASE TAKE NOTICE THAT THE PEOPLE, PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW, INTEND TO USE ALL STATEMENTS OR ADMISSIONS
REFLECTED HEREIN MADE BY THE DEFENDANT TO A LAW ENFORCEMENT OFFICIAL.
 A. CONVERSATION AT ARREST SCENE                                   B. CONVERSATION AT                                C. IDENTIFICATION OF DEFENDANT
       Time:     21:31             Date:    09/04/2017               Time:                       Date:              ~ Confirmation (at or near scene)

       To Whom: TPR KIMBERLY M. COLTON                               To Whom:                                       D Observation (of operation or upon other
                                                                                                                         occasion)
       DEFENDANT SAID THAT HE/SHE:                                   DEFENDANT SAID THAT HE/SHE:                     D. VIDEO
~ Had been drinking:       How Many _ _ _ _2_ __               D     Had been drinking: How Many
                                                                                                                     D Yes    ~ No
       Type           BEERS BUDLIGHT                                 Type
                                                                                                         -------
                                                                                                                     E. WARNINGS GIVEN
       Where                    CASINO                               Where                                               DWI Refusal Warning Time:      22:05
[i2j   Operated the VehiclE!                                   D     Operated the Vehicle                                Given by:    TPR KIMBERLY M. COL
,-·1Did Not Drink since Operation of                           D     Did Not Drink since Operation of                    Location SP SCHUYLER
'-' Vehicle Ceas.ed                                                  Vehicle Ceased

~ Was Driving to:                          HOME                D     Was Driving to:
                                                                                                                         Miranda     Time:   22:06

~ Was Driving from:                        CASINO              □ Was Driving from:
                                                                                       ------------                      Given by:    TPR KIMBERLY M. COL

[ ] Had Prior Alcohol Convictions                              D     Had Prior Alcohol Convictions
                                                                                                                         Location SP SCHUYLER

       Is Currently DWI Susp/Revoc                             D     Is Currently DWI Susp/Revoc

D Would Not Take a Screening Test                              D     Would Not Take a Screening Test

D Would Not Take a Chemical Test                               D     Would Not Take a Chemical Test

[ ] AS IN ATTACHMENT HERETO                                    □ AS IN ATTACHMENT HERETO

□ OTHER                                                        □ OTHER
               ---------------                                               --------------
CONVERSATION NARRATIVE:




                                                                                                1-0041
Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 24 of 43
                  Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 25 of 43
..

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Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 26 of 43
                    Case 6:20-cv-00399-FJS-TWD      Document 21-2 Filed 12/19/21 Page 27 of 43
                                           New York State - Department of Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES
                                                 POLICE AGENCY                                  Date of Arraignment
M2117C6LTX                                                                                      Court Adjourment Record                ocket Number
The people of The State ofNew York               INEW YORK STATE POLICE                                                                R-09069-17
vs.                                              !Local Police Code
._ast Name (Defendant)                           ~irstName                    M.I.
CARRUTHERS                                       OC{AYMOND                    A
Number and Street                                                             Photo Lie Shown   Date From          Code              !Date to          Requested By
48 LESLIE A VE                                                                Yes
City                                               ip Code      Oper.Owns Veh i.,ic. Class
                              ~e                                y
UTICA                                            13502
Client ID Number                                                Sex           Date Expires
412105932                                                       M             07/24/2024
..,ic. State                  Kreh. Type         ~ear           Make          Color                                Amount            !Date             !Receipt No.
             =irth
NY                     84     11- Passenger      !Z012          CHEV          IGY               Bail
Plate Number                  !Reg. State        !Registration Expires                          Refund
HNT4077                       INY                11/25/2018                                     Fine
                                                                                                Surcharge

                 THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
 Time                       ate        IN VIOLATION OF
 09:23 PM                  9/04/2017   IVTL
!Violation Section                     Tr Inf/Misd/Fel            IHZone
 11923                                                 IH
                                       Misdemeanor
 Description of Violation              PS DOT#
!DRIVING WHILE INTOXICATED (MISD) ComVeh               Bus        HazMat
'(:;!TN Name                           County          Hwy Type [NCIC/ORI
tITY OF UTICA - 3302                   Oneida          1-         13302
Street Name                            Hwy.No.         ._oc. Code                                   SECTION 1807 OF THE VEHICLE AND TRAFFIC
l90 MPM 233.4E                         90              3302                                         LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                    CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                    FOLLOWS:
              ~,,J,111,~                                                                        "A plea of guilty to this charge is equivalent to a conviction after
                                                                                                 trial. If you are convicted, not only will you be liable to a penalty,
Officer's Signature Affirmed Under Penalty of Perjury                                           ~ut in addition your license to drive a motor vehicle or motorcycle,
                                                                                                and your certificate ofregistration, if any, are subject to suspension
                                                                                                tand revocation as prescribed by law."

                                                                                                To Judges or Clerk of Court: Checkmark the appropriate box or
                                                                                                Doxes below.
Officer Operating Radar Signature
                                                                                                [ HEREBY CERTIFY THAT:
!Date Affirmed                                     ff Assign        adge/Shiel t;st Type
"9/04/2017                                        311               200         -PATROL
Officer's Name
[{COLTON
                                                                                                  □      Upon arraignment, that the above instruction was given
                                                                                                         orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
!Utica City Court

                                                                                                  □
Address                                                                                                  Th.e defendant appeared in response to a ticket upon which
  411 ORISKANY ST. WEST                                                                                  the above instructions were printed in bold type, in
'(:;ity                           State         IZip                                                     accordance with Section 1807 of the Vehicle and Traffic
UTICA                             NY            13502                                                    Law.
                                  Date          !Time
Must appear in person on:         09/13/2017    "9:00:00A


                                      FOR COURT USE ONLY                                          □      Defendant entered a plea of guilty in writing pursuant to
                                                                                                         Section 1805 of the Vehicle and Traffic Law.
Court Code                     ustice Code                 IDate Sentenced Imposed
                                             Date Adjudicated
NY032031J
Charge Convicted of AS ABOVE VTL OTHER Disposition/Sentence "ineAmt
                                                           Surcharge                             ignature of Judge or Clerk of Court                   !Date
)3ail Forfeiture Amt      Date         ..,icense
                                       Rev Susp Mand       !Month/Day/Yrs
                                       Perm                                                     !Name of Judge
DWI Test Type                          DWI Test Results
1                                                22
Suooorting Deoosition Issued None




                                                                             1-0029
                      Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 28 of 43
                                                               New York State - Department of Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES                                                          \
                                  FOR FELONY TRACKING PURPOSES ONLY/ NOT AN ACCUSATORY INSTRUMENT                                                                     \
                                                                                                                                                                       \
                                                 ~OLICE AGENCY                                          Date of Arraignment                                                '\
M2117C6MJF                                                                                              Court Adjourment R~ord                  ocket Number                    \

The people of The Stat,e of New York             ~WYORKSTATEPOLICE                                                                              R-09069-17
vs.                                               ..ocal Police Code
Last Name (Defendant)                            J1irs1;Name                          M.I.
CARRUTHERS                                       ~YMOND                               A.
Number and Street                                                                     Photo Lie Shown   Date From           Code               Date to          [Requested          By1
48 LESLIE AVE                                                                       !Yes                                                                                              \
City                            tate              ip Code      Oper Owns Yeh        Pc. Class
UTICA                            y               13502         y
                                                                                                                                                                                          I
Client ID Number                                               Sex                  [Date Expires
412105932                                                      M                    07/24/2024 .
L,ic. State  jDate ofBirth    Kreh. Type         ~ear          Make                 K;olor                                  Amount            !Date             [Receipt No.
NY                     4      11 - Passenger     ~012          CHEV                 GY                  Bail
Plate Number                  lli,g. State       lli,gistration Expires                                 Refund
HNT4077                       NY                 lll/2512018                                            "'ine
                                                                                                        Surcharge

                 THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
!Time                     ate       IN VIOLATION OF
[09:23 PM                 9/04/2017 YTL
!Violation Section                  Tr Inf/Misd/Fel                                     rHZone
                                                    rH
15113A                              Felony
 Description of Violation           tJSDOT#
IAGGRAVATED UNLIC OPER 1ST DEGREE Com Yeh            us                                 IHazMat
'(:',/TNName                        County          Hwy Type                            INCIC/ORI
!CITY OF UTICA - 3302               Oneida          1-                                  13302
Street Name                         liwy.No.        LOc. Code                                               SECTION 1807 OF THE VEHICLE AND TRAFFIC
1[90 MPM 233.4E                                  '10                      3302                              LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                            CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                            FOLLOWS:
             -~n,,~-
                                                                                                        "A plea of guilty to this charge is equivalent to a conviction after
                                                                                                        ltrial. If you are convicted, not only will you be liable to a penalty,
Pfficer's Signature Affirmed Under Penalty of Perjurv                                                    but in addition your license to drive a motor vehicle or motorcycle,
                                                                                                        fllld your certificate of registration, if any, are subject to suspension
                                                                                                        and revocation as prescribed by law."

                                                                                                        To Judges or Clerk of Court: Checkmark the appropriate box or
                                                                                                        lloxes below.
Officer Operatinl!: Radar Simature
Date Affinned
09/04/2017
                                                ~Assign
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                                                                                         -PATROL
                                                                                                Type
                                                                                                         HEREBY CERTIFY THAT:


Officer's Nam~
IK.COLTON
                                                                                                          □       Upon arraignment, that the above instruction was given
                                                                                                                  orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW :JN:
tUtica City Court

                                                                                                          □
[Address                                                                                                          The defendant appeared in response to a ticket upon which
 411 ORISKANY ST. WEST                                                                                            the above instructions were printed in bold type, in
City                                             State                    Zip                                     accordance with Section 1807 of the Vehicle and Traffic
UTICA                                            NY                       13502                                   Law.
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Must appear in person on:                        09/13/2017               09:00:00A



Court Code
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                               ustice Code       Date Adjudicated
                                                                                                          □       Defendant entered a plea of guilty in writing pursuant to
                                                                                                                  Section 1805 of the Vehicle and Traffic Law.
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NY032031J
Charge Convicted of AS ABOVE VTL OTHER Disposition/Sentence "'ineAmt
                                                            Surcharge                                   Signature of Judge or Clerk of Court                    Date
Bail Forfeiture Amt       Date         License
                                       Rev Susp Mand        Month/Day/Yrs
                                                 "enn                                                   !Name of Judge
DWI Test Type                                    DWI Test Results

Supporting Deposition Issued None



                                                                                        1-0030
                       Case 6:20-cv-00399-FJS-TWD       Document
                                             New York State              21-2
                                                            - Department of        Filed 12/19/21 Page 29 of 43
                                                                            Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES
                                                 1:'OLICE AGENCY                                   IDate of Arraignment
M2117C6T7N                                                                                         Court Adjounnent Record                ocket Number
The people of The State of New York              NEW YORK STATE POLICE                                                                    R-09069-17
VS.                                              ~ocal Police Code
..,ast Name '-Defendant)                         !First Name                ~LI-
CARRUTHERS                                       RAYMOND                    A
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48 LESLIE A VE                                                              Yes
City                                               ip Code    Oper Owns Veh ILic. Class
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Client ID Number                                              Sex                  Date Expires
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                THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
Time                       ate        ~ VIOLATION OF
09:23PM                   9/04/2017   IVTL
Violation Section                     Irr Inf/Misd/Fel             )HZone
                                                       IH
11941B                                lnfraction
Description of Violation              IUSDOT#
REFUSAL TO TAKE BREATH TEST           ~omVeh           Bus         HazMat
C/TNName                              k:ounty          Hwy Type NCIC/ORI
CITY OF UTICA - 3302                  Oneida           ~-          13302
Street Name                           !Hwy. No.        ..,oc. Code                                     SECTION 1807 OF THE VEHICLE AND TRAFFIC
190 MPM 233.4E                        !)O              3302                                            LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                       CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                       FOLLOWS:

              ~n,.~                                                                                "A plea of guilty to this charge is equivalent to a conviction after
                                                                                                   trial. If you are convicted, not only will you be liable to a penalty,
Officer's Signature Affirmed Under Penalty of Perjury                                              ):mt in addition your license to drive a motor vehicle or motorcycle,
                                                                                                   and your certificate of registration, if any, are subject to suspension
                                                                                                   and revocation as prescribed by law."

                                                                                                   To Judges or Clerk of Court: Checkmark the appropriate box or
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Officer Operating Radar Signature                                                                  I HEREBY CERTIFY THAT:
Date Affirmed                                     ff Assign               adge/Shiel ttst Type
09/05/2017                                        311                    1200         -PATROL
Officer's Name
KCOLTON                                                                                              □      Upon arraignment, that the above instruction was given
                                                                                                            orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
Utica City Court
Address
 411 ORISKANY ST. WEST                                                                               □      · The defendant appeared in response to a ticket upon which
                                                                                                              the above instructions were printed in bold type, in
City                                   State      ~ip                                                         accordance with Section 1807 of the Vehicle and Traffic
UTICA                                  NY         13502                                                       Law.
                                       Date       !Time
Return by mail before or in person on: 09/13/2017 ~9:00:00A


                                      FOR COURT USE ONLY                                             □      Defendant entered a plea of guilty in writing pursuant to
                                                                                                            Section 1805 of the Vehicle and Traffic Law.
Court Code                     ustice Code   Date Adjudicated            [late Sentenced Imposed
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~harge Convicted of AS ABOVE YTL OTHER           Disposition/Sentence fine Amt
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                                                 Perm                                              !Name of Judge
OWi Test Type                                    DWI Test Results

Supporting Deposition Issued None




                                                                                     1-0024
                        Case 6:20-cv-00399-FJS-TWD      Document 21-2 Filed 12/19/21 Page 30 of 43
                                                New York State - Department of Motor Vehicles
                           SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEIDCLES
                                                   POLICE AGENCY                                   [)ate of Arraignment
            117C6LK7                                                                               Court Adjourment Record                ocket Number
         ;ie of The State of New York              NEW YORK STATE POLICE                                                                  R-09069-17
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   .-\RR.OTHERS                                    RAYMOND                       ~                                                                      ,,
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   \fumber and Street                                                            ~hoto Lie Shown   Date From          Code              Date'toi             !Requested By
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                  THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
 riime                       ate        IN VIOLATION OF
 K)9:23PM                   9/04/2017   VTL
 !Violation Section                     Tr Inf/Misd/Fel              rHZone
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 !MOVED FROM LANE UNSAFELY              ComVeh             us        HazMat
 'r:,!TNName                            County          Hwy Type NCIC/ORI
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 ~90 MPM 233.4E                         90              3302                                           LAW PROVIDES THAT DEFENDANT, IN CERTAIN
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                                                                                                   "A plea of guilty to this charge is equivalent to a conviction after
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                                                                                                   and your certificate of registration; if any, are subject to suspension
                                                                                                   and revocation as prescribed by law."

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 !Officer Operating Radar Signature                                                                 HEREBY CERTIFY THAT:
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 09/04/2017                                         311               1200         - PATROL
 !Officer's Name
 IKCOLTON                                                                                            □      Upon arraignment, that the above instruction was given
                                                                                                            orally to the defendant


 TIDS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
 [Utica City Court
 ~ddress
  411 ORISKANY ST. WEST                                                                              □      The defendant appeared in response to a ticket upon which
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 City                                   State       Zip                                                     accordance with Section 1807 of the Vehicle and Traffic
 UTICA                                  NY          13502                                                   Law.
                                        Date        Time
 Return by mail before or in person on: 1)9/13/2017 09:00:00 A



                                       FOR COURT USE ONLY                                            □      Defendant entered a plea of guilty in writing pursuant to
                                                                                                            Section 1805 of the Vehicle and Traffic Law.
 Court Code                     ustice Code   Date Adjudicated        Date Sentenced Imposed
 NY032031J
 Charge Convicted of AS ABOVE VTL OTHER !Disposition/Sentence -ineAmt
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 Bail Forfeiture Amt       Date         license
                                        IRev Susp Mand        Month/Day/Yrs
                                        ~erm                                                       Name of Judge
 DWI Test Type                          [)WI Test Results

 Suooorting Deoosition Issued None'




                                                                               1-0006
                  Case 6:20-cv-00399-FJS-TWD     Document 21-2 Filed 12/19/21 Page 31 of 43
                                          New York State - Department of Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES
                                                 POLICE AGENCY                                   !Date of Arraignment
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!The pbople of The State ofNew York              NEW YORK STATE POLICE                                                                  R-09069-17
IVS.                                             ...,ocal Police Code
ILast Name (Defendant)                           f<irstName                    M.I.
~AR.RUTHERS                                      RAYMOND                       ~
Num9er and Street                                                              rhoto Lie Shown   [Date From         [Code             Date to           !Requested By
<18 LESLIE A VE                                                                Yes
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       I        THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
Time i                     ate        IN VIOLATION OF
09:23PM                   9/04/2017   YTL
~iolation Section                     Tr Inf/Misd/Fel            rHZone
                                                      rH
11922.AA                              Misdemeanor
Description of Violation              US DOT#
AGGRAVATED DWI-BLOOD ALCOHOL          ComVeh          Bus        HazMat
C/TNName                              County          IHwyType ~CIC/ORI
CITY OF UTICA - 3302                  Oneida          1-         ~3302
Street Name                           Hwy.No.         [Loe. Code                                     SECTION 1807 OF THE VEHICLE AND TRAFFIC
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             ~/Yi,~                                                                              11 A plea of guilty to this charge is equivalent to a conviction after


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bfficer's Signature Affirmed Under Penalty of Perjury                                            [but in addition your license to drive a motor vehicle or motorcycle,
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                                                                                                 rro Judges or Clerk of Court: Checkmark the appropriate box or
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Officer Operating Radar Signature                                                                 HEREBY CERTIFY THAT:
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~9/04/2017                                        311                200         -PATROL
Officer's Name
~COLTON                                                                                            □       Upon arraignment, that the above instruction was given
                                                                                                           orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
!Utica City Court

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~ity                               State        Zip                                                       accordance with Section 1807 of the Vehicle and Traffic
iUTICA                             NY           13502                                                     Law.
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                                      FOR COURT USE ONLY                                           □       Defendant entered a plea of guilty in writing pursuant to
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Bail Forfeiture Amt          Date      ....icense
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                                       Perm                                                      !Name of Judge
bWI Test Type                          DWI Test Results
1                                      122
Supporting Deposition Issued None




                                                                            1-0042
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    STATE OF NEW YORK
    COUNTY OF ONEIDA                     UTICA CITY COURT

    The People of the State of New York,

                                                 Plaintiff,
               against                                             Decision and Order

    Raymond A. Carruthers,
                                                                   CR No. 09069-17
                                                 Defendant.

                                                                     (     ' ')<
                                                                              ' \;:[,"' 1?r.~
                                                                                        ,,<t I ~;
                                                                                              I ·. ','
    APPEARANCES:          Maria Murad Blais, Esq. for the People '"·~-        \,]·'          ,, ,
                          John G. Leonard, Esq. for the Defendant


    PRESENT:       Hon. F. Christopher Giruzzi

                                      PROCEDURAL HISTORY

        The defendant, Raymond A. Carruthers, is charged with the misdemeanors of
    Aggravated Driving While Intoxicated (VTL 1192(2-a)(a)), Aggravated Unlicensed
    Operation in the Third Degree (VTL 51 l(l)(a)), Driving While Intoxicated (YTL 1192(3)),
    and the traffic violations of Refusal to Take Breath Test (VTL 1194(1)(b)) and Moved from
    Lane Unsafely (VTL 1128(a)).
        On April 20, 2018 and June 7, 2018, a Dunaway was conducted to determine the
    admissibility of evidence obtained as a result of his detention and arrest. A New York State
    Trooper testified for the People: Kimberly M. Colton ("Colton"). The defense did not put
    on any witnesses. Exhibits received into evidence were the Trooper's DWI and Miranda
    Warning card (People's Exhibit 1) and National Highway Traffic Safety Administration
    ("NHTSA") Student Manuals for DWI Detection and Standardized Field Sobriety Testing
    for years 2000, 2002, 2004, 2013, and 2015 as well as separately excerpted pages from the
    1981 and 2002 manuals (Defense Exhibit C).
                                            TESTIMONY

        Colton's direct testimony was as follows:
        On September 4, 2017, Fulton was working a 7:00 p.m. to 7:00 a.m. shift. She was on
    the Thruway at about 8:30 p.m. when she received a call from dispatch of a gray passenger


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    car on the Thruway headed westbound extremely slowly and being "all over the road".
    After heading toward the reported location, Colton received information that the vehicle
    had exited the Thruway at Exit 34, then at about 9: 14 p.m. Colton received a fmiher report
    that the vehicle was back on the Thruway headed eastbound. Colton headed in that
    direction and came up behind a gray Malibu. She clocked the vehicle on radar at 41 m.p.h.
    and observed it cross the center lane marker 3 times. Colton stopped the vehicle near
    milepost marker 236. The single occupant was Defendant driver who appeared disheveled,
    smelled strongly of alcohol, and had watery, bloodshot eyes. Colton asked for Defendant's
    license and registration; Defendant complied, apparently without difficulty. Defendant first
    told Colton that he was coming from Rome; when she noted a discrepancy in that account,
    he then told her he was coming from "the casino." Defendant admitted, with slmTed
    speech, to having had 2 beers at the casino. Colton administered the three Standard Field
    Sobriety Tests and the Romberg test, all of which Defendant failed. Defendant refused to
    provide a breath sample for the roadside testing. Colton arrested him for Driving While
    Intoxicated and placed him in her patrol car. She read him the DWI warnings and Miranda
    Warnings, which he said he understood. Defendant agreed to submit to a chemical test but
    after some further conversation Defendant became extremely upset.
        Colton testified that she has been a Trooper for 18 years, that she has received training
    on how to conduct DWI traffic stops, and that she has received training in the Standard
    Field Sobriety Tests. Colton testified that she received the Trooper of the Year Award four
    times for her DWI work. Colton also testified that this was her first participation in a
    suppression hearing. [That surprising lack of courtroom experience may have contributed to
    the stunningly weak, shallow, evasive, and unconvincing quality of her testimony,]
    particularly that regarding probable cause for the DWI arrest.
        Direct examination:
        Q. So, Trooper, I ask you exactly, you said, nystagmus, the gaze nystagmus test. Do
    you know the full name of that test?
        A. I don't recall it. So, no I don't.


        Q. Exactly what did the Defendant show to you on that date when you performed this

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    test with him?
        A.    That he had unequal tracking, unequal, lack of smooth pursuit.


        Q. Okay. Do you know what the total amount of clues for the walk and turn test?
        A.    Eight.
        Q.    Eight. Can you list those 8 clues?
        A. Not exactly, no.


        Q.    You're familiar with the clues in the one leg stand. You know how many clues
    there are total?
        A.    Six.
        Q.    And do ...
        A.    Excuse me, 4.
        Q.    Four. And do you know exactly what clues the Defendant exhibited on that date.
        A.    He failed.
        Cross examination:
        Q. No, you just testified, and I ask you and you just said it again that my client had
    unequal tracking. And in your manual, and you've been trained, that if a person has
    unequal tracking that means they're unable to follow the stimulus.
        A.    That's correct.
         Q.   And if he's unable to follow the stimulus how do you do the tests? You can't
    perform the test if they can't follow the stimulus?
         Q.   I do attempt, absolutely, and it's written off as a fail.


         Q. And in your manual it says that if you have an unequal tracking and they can't track
    you cannot do the test, right?
         A.   Possibly, I don't know the exact verbiage of the manual from 2000.
         Q. Well, you've done this for 19 years, right?
         A.   I absolutely have.




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        Q. And how many DWI arrest have you had?
        A.      Several.


        A. I received 4 years of Trooper of the Year Award for my DWI activity.
        Q.      Okay. So you should know this stuff inside and out, right?
        A. Possibly.


        Q. Explain what unequal tracking is.
        A. Unable to track my pen.
        Q.      Okay, what's that mean?
        A. Unable to track my pen.
        Q. Meaning what?
        A. Can't track my pen.


        Q. Trooper, tell me the clues, the exact clues for the HGN. I'm sorry, for the walk
    and turn.
        A. The exact clues. Every step needs to be heel to toe. When he gets to the turn it
    needs to be a sh01i, choppy turn as demonstrated to him prior to the test begins.
        Q.      So, there's 3 clues?
        A. There's 3 clues?
        Q.      I'm asking you. Is there 3 clues?
        A. He failed all of the clues .
        . . . (after Colton provided of the eight clues)
        Q. Three. Give me the other five.
        A. That's the extent of what I can provide you[.]
        Colton was cross-examined about her motive in filing an unsubstantiated felony
    Aggravated Unlicensed Operator complaint against Defendant instead of a misdemeanor
    complaint, such enhanced charge causing Defendant to be held in jail for arraignment. The
    complaint was later amended to a misdemeanor by the People.
        Q. Is that the felony complaint that you filed that night, Exhibit B? And at the bottom

                                                    4

                                           1-0280
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    it says that false statements are punishable by ...
        A.     Yes, I did.
        Q.     Right, you signed that.
        A.     Yes, I did,
        Q. And you have no knowledge that my client had a suspended license for alcohol for
    the refusal that night, correct? And before you answer that, I don't know if you want to
    have your own attorney here because this is pretty serious that ...
        A.· Okay.
        Q. . .. you falsely charged my client with a felony and he had to go to jail that night.
    So if you want to stop right here and not answer anything else because that's a false
    statement that you had there based on the documentation that you have. Would you like to
    stop?
        A. I would like to talk to the ADA.
        The hearing was thereupon adjourned. When it resumed weeks later, things did not
    improve.
        A.     My understanding at the time with the convictions of his prior DWI, Al's, with a
        suspension are trying to articulate the Vehicle and Traffic Law sometimes gets
        confusing [sic]. I did make a mistake of charging him with an A UO 1st which is a
        human error it is not perjury. It was a human mistake.
        Q.     So, who told you to say that? Did you talk to an attorney? Did you talk to the
        boss, did you talk to the Supervisor and have you come in here and change your
        testimony telling us that's a human mistake? Who did you talk to say that?
        A. I spoke to my union rep.
        Q. And they told you to come in here and say that?
        A.     We discussed it. We went through the paperwork together. And together going
        through the Vehicle and Traffic Law we discussed it together and decided it should
        have been AOU 3 rd and it was absolutely an error not perjury. Not intentionally, not
        knowingly.


        Q. And you have, let's say a hundred stops in 20 years, 18 years.


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        A.   Correct.
        Q.   ForDWI?
        A.   Correct.
        Q. Okay. And every time that you arrest somebody unless they refuse you give field
        sobriety tests, correct?
        A. That is correct.
        Q. Okay. Why don't you know it then?
        A.   Why don't I know the manual?
        A.   Yeah.
        A. I don't. I don't have an answer for that.
                                             CONCLUSION

        The testimony quoted above provides examples but does not adequately capture
    Colton's equivocation, failure of memory, and lack of candor. Her testimony regarding
    probable cause was neither reliable nor credible. Her recall was selective and self-serving.
    Her overall demeanor in that portion of the hearing is illustrated by the following exchange:
        Q.   . .. You said on your paperwork under the penalties or perjury that my client had 8
    clues on the walk and turn.
        A. That is correct.
        Q. Tell me the 8 clues.
        A. I can't
        Q.   Okay. So we should just strike that because you have no idea ...
        A. If that's what my, [sic] the Judge would like to do so be it.
        "The analysis required of a [suppression] hearing Judge faced with deciding whether
    the People have met their burden is largely the same as that used by a magistrate in passing
    on an application for an arrest or search warrant." People v. Dodt, 61 N.Y.2d 408,415
    (1984) (citations omitted)
        "It is settled law that such a [suppression] challenge casts on the prosecution the
    burden of coming forward with evidence that the arrest met the probable cause standard.
    Summary statements that the police had arrived at a conclusion that sufficient cause existed
    will not do. As on a warrant application, it is the responsibility of the neutral court, not the


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                                          1-0282
Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 39 of 43




    police, to determine whether the latter were justified in making the serious intrusion that the
    deprivation of another's liberty constitutes. For that purpose, the court must be presented
    with facts, not assurances." People v. Bouton, 50 N.Y.2d 130, 135 (1980) (citation
    omitted)
                                      CONCLUSION AND ORDER

        Colton's testimony establishes reasonable suspicion for the initial stop and sufficient
    grounds for a further investigatory detention. However, her testimony regarding probable
    cause for a DWI arrest is another matter altogether, consisting not of facts, but of
    assurances.
        After review of the testimony and evidence adduced the hearing, and based on the
    findings of fact and conclusions of law noted above, the court determines that:
        1.     Defendant's motion for suppression of evidence based on an arrest made without
               probable cause is GRANTED insofar as all evidence obtained subsequent to
               Defendant's arrest may not be used against him at trial.
    Dated: Utica, New York
           September 13, 2018




                                                            Utica City Court Judge




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Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 41 of 43




  State of New York
  County of Oneida                                                 Utica City Court

                                   PLEA OF GUILTY

  Instructions to Motorists: Submit this form to the Court by Registered or
  Certified mail, Return Receipt Requested accompanied by Record of Conviction
  Stub. This form may not be used for misdemeanors or for a third or subsequent
  speeding violation in an 18-month period. If the court denies this application,
  the applicant will be notified to appear.

  To: Utica City Court
                          ..
  I, Raymond Carruthers, residing at 6 Jessica Place, Whitesboro, NY, pleads
  guilty to Section 1128(a), Moved From Lane Unsafely, of the vehicle and traffic
  law, dismissing the original charges of Section 511(2)(a)(ii), Aggravated Unlicensed
  Operation in the Second Degree; Section 1192(2)(a), Aggravated Driving While
  Intoxicated with a BAC of .18% or Greater; Section 1192(3), Driving While Intoxicated;
  and Section 1194(1)(b), Refusal to Take a Breath Screen, of the Vehicle and Traffic Law
  of the State of New York, committed on September 4, 2017. I acknowledge receipt of
  the following warning:

  "A PLEA OF GUILTY TO THIS CHARGE IS EQUIVALENT TO A
  CONVICTION AFTER TRIAL. IF YOU ARE CONVICTED, NOT ONLY WILL
  YOU BE LIABLE TO A PENALTY, BUT IN ADDITION YOUR LICENSE TO
  DRIVE A MOTOR VEHICLE OR MOTORCYCLE, AND YOUR CERTIFICATE
  OF REGISTRATION, IF ANY, ARE SUBJECT TO SUSPENSION AND
  REVOCATION AS PRESCRIBED BY LAW."

   I waive arraignment in open court and the aid of Counsel. I plead guilty to the
   offense as indicated and request that this charge be disposed of and fine or
   penalty fixed by the court.




                                      1-0003
Case 6:20-cv-00399-FJS-TWD Document 21-2 Filed 12/19/21 Page 42 of 43
                  ~;;~~
                       Case 6:20-cv-00399-FJS-TWD
                       9
                                            DA#
                                                  Document 21-2 Filed
                                                                 Court#
                                                                                     ·-·=i
                                                                      12/19/21 Page 43 of 43Misc.
                                                                                                                                 UTICA
            LOCAL CRIMI . L                    CQURT:                   CITY                         OF:
  ----=-,--=--,--,,ff,,.,...,--,,-=-,-                   - - --       - - - - --            -   -          - - - --     -    -    --------                            ~ SUPPORTING DEPOSITION
 -sTATE O F N EW Y               K : COU NTY O F                      ONEIDA
                                                                                                                                                                       ~ DWI BILL OF PARTICULARS
                                                   THE P EOPLE OF T H E STATE OF            NEW YORK
                                                                      against

   CARRUTHERS                                         RAYMOND                                   A                    DEFEN DANT
        (Last)                                          (First)                             (Middle).
The above •DEFENDANT is charged by Simplified Traffic Information (TSLED) Numbers(s):                             M2117C6LTX/ M2117C6MDK
( or attached accusatory i trument) with OPERATING A MOTOR VEHICLE UNDER THE INFLUENCE OF ALCOHOL ANO/OR DRUGS contrary lo Section 1192 of the Vehicle and
Traffic Law. A Supporti    Deposition and/or Bill of Particulars pursuant to SectiOns 100.25 & 200.95, respectively, Of the Criminal Procedure Law are hereby provided. as follows:
 THE UNDERSIGNED CO PLAJNANT, upon direct knowledge unless otherwise specified , avers that the defendant, .on or ·a bout                09/04/2017 , at or about       09:23
 operated a (color)                       GREY            YR        2012        (make)              CHEV        motor vehicle, bearing State of          NY     registration number           HNT4077
                             1

 in a _ _ _EA
            _ S_T_E_R
                    _L_Y   l _direction on
                       . ...,                                      190 MPM 2 33 .4E                     a public highway/parking lot in the             CITY          of              UTICA

,..c_o_u_n_ty_o_f--'====F.==
                           O=N=E=l=
                                  O=A======.· State of New York, while in an intoxicated condition and/or having a                                 0.22% blood alcohol contenl
                                                                           , 4 . PROBABLE CAUSE FOR ARREST:                                       O      Blood (Results to be delivered later)
                                                                                                                                                  ~ BREATH TEST BA.C. 0.22%
                                                        21 :55
                                                                           A. Observation of the Defendant's:
                                                                                                                                                  Breath Tesl Operator _
                                                                                                                                                                       KIMBERLY M COLTON
                                                                           ~ Driving                                                              □ Other Test ...;...._ _ _ _ _ B.A.C.
                                                                           ~ Odor of Alcoholic Beve(age                                           Inst#             ARAH-0027                 Mo d e l # ~ O
                                                                           0    Odor of Man]uana                                                  Sim. Lot#     219199 CYL 38                     Yes      No
                                                                           ~ Glassy Eyes                                                          Agreed to take blood test?                      D 0
                                                                           ~    ·Impaired Speech                                                  lmpried consent of blood test?
                                                                                                                                                                                                  □        Cl
                                                                            ~ Impaired Motor Coordination                                         Blood Test Drawn By:
                                                                                                                                                                        .,...,----,:=;-=:-,,=-:==---
                                                                            O Other Odors:                                                        □ Nurse          O Physician     O EMT O Lab Tech
 Traffic: HEAVY
 _ ~ PRIOR CONVICTIO S
                                 eather:CLOUOY
                                                           Asa
                                                         •Felony
                                                                                                    ------------
                                                                            ~ Performance of Field Test(s)O                 Refused
                                                                                                                                                  O Court ordered blood test:
                                                                                                                                                  Judge: ·
 Sections         How Many ,              Last Date
                                                                                                                       Fail Pass Clues                      o71
                                                                                                                                                  Loeatio=-n""! 1a
                                                                                                                                                                "'b
                                                                                                                                                                  = ro""r""
                                                                                                                                                                         a"'na"'ly"'s"'is"":- - - - - - - - -
  1192.1          2           , 10/19/2015
                                                                            ~ Horizontal Gaze Nystagmus
                                                                                                                        ~ □              6
                                                                                                                                                   O                O
                                                            □
 .1 192.2
                                                                            ~ Walk and Tum                             ~-D               8
                                                                                                                                                         Refusal           No Test Administered

                                                            □                                                                                 I
  1192.2(a)
                                                                            ~ One Leg Stand
 1192.2(a)(a)
                                                            □.                                                          ~□               4         7. PRESENT CHARGES:
                 ----                                       □
                                                                            ~ Romberg Balance
                                                                                                                        ~□                                                                               1192.1
 1192.2(a)(b)
  1192.3         ----                                       □
                                                                            O    Finger_to Nose
                                                                                                                        □. □
                                                                                                                                                   0    -0WAJ
                                                                                                                                                   O OWi 0.08% BAC or Greater                      .     1192.2
                                                                            O Finger Count                                                         IV! AGGRAVATED DWI
  1192.4
                                                            □                                                           □□                         II FELONY DWI - CHILD IN VEHICLE
                                                                                                                                                                                                         1192.2(a)(a)

                                                          ·□                                                            □□
  1192.4(a)                                                                 O    Reciting the Alphabet                                                                                                    1192.2(a)(b)
                                                                                                                                                   [ ) DWI INTOX                      .                 . 1192.3
  1192.5
                                                            □               OC?ther:
                                                                                         -------                        □□                         0     DWAJDRUGS                                       1192.4
                                                            □               ~ Defendant Disabled
  1192.6
Out of State
                                                            □
                                                                                              NONE
                                                                                                           ---- - ----                             D COMBINED INFLUENCE
                                                                                                                                                   0     C MV w/ Hazmat 0.04% - 0.06% BAC
                                                                                                                                                                                                         1192.4(a)
                                                                                                                                                                                                         1192.5
                                                                           B. Admissions By The Defendant

                                                                            0    Oral (see Number 9)
                                                                                                                                                   D CMV w/Hazmat0.06%-0.08%BAC 1192.6
                                                                            Q    Conduct.       Q    Screening Test Refusal
                                                                                                                                                   D Felony 0.08% BAC or Greater
                                                                                                                                                                           (1192.2and 1193. 1(c)J
  ~ Erratic Operation:           J
                                 0

     UNABLE TO MAI TAIN LANE, 41 MPH IN                                                         0    Chemical Test Refusal
                                                                                                                                                   O Felony DWI ·          (1192.3 and 1193.1(c)I
                                                                                                                                                   0     Consumed Alcohol-Under 21                     [1192.a)
     65 MPH ZONE _,1                                                                            0    Resisted Apprehension                         n-~ Other VTL Violation(s)             .
  ~ VTL Violation of Secti r(s):                                           .0    Other: _ __            _ _ _ _ _ _ __

        1128A                    i                                          C. Other Evidence as Follows:
                                                                            O Open Container of an Alcoholic Beverage                              O Other Offense(s)
  O Accident: O Prope Damage O                          Injury
   O Injury to 0111ei Iha Jonver                                            O Drug Paraphernatia
   O "SPI" (Serious Ph ical Injury)                                         O Positive Breath Screening Test                                       O Current SuspJRevoc (Sec. 511)
      n •o"      Fatality            J                                                   Time:
                                                                                                                                                  I
  OCivilian Complaint                                                       O Civilian Witness(es)
                                                                            o ·other: _ _ _ __ _ _ _ __ _ _
                                                                                                                                                       8. VERIFICATION:.
                                                                                                                                                   False Statements made ·herein are punishable as a
                                                                                                                                                                                                                     I
   □ Roadblock                                                                                                                                     Class ·A· m isdemeanor pursuant to Section 210.45 of
  0    Other:   - - - --i:,_______ _ ;. .                                                                                                          the Penal Law.

 Time of Stop:              09: 3
                                                                           j s. NO ALCOHC>L AFTER STOP SHOWN BY:                                   NEW YORK STATE POLICE
                                                                                                                                                   Police Agency
  3. V EHICLE OPERATI N SHOWN BY:                                           ~ Continual POiice Observation


   l~ Complainant's Observ :ions ·                                          O Admissions (See Number 9)
   O Clvirtan Wltness(es) Id ;ntification                                   O Civilian Witnesses
   n   Admissions (see Num : 9)
   Ed Further Observations           s fotlows:
                                                                            O Video
                                                                            O Other: _ _ __ _ _ _ __                             _ _ __
                                                                                                                                                   Arresting Officer (S ignature)

                                                                                                                                                         KIMBERLY            M                COLTON
                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                    I
       ~ Defendant at the-           i el                                                                                                          Arresting o fficer (Pnnt Name)

       ~ Defendant near th
                                     .l
                                          ehide
                                                                           , 6 . CHEMICAL TEST INFORMATION

                                                                                                22:28
                                                                                                                                                   1200                         T             3           11                J
                                                                                                                                                                                                                            r
       ~ Keys in the lgnijiol]
       ~ Motor Running               ll
                                               .
                                                                            Time of Test:
                                                                                                ------------------
                                                                            Location ofTest. SP SCH_UYLER

     O Defendant Injured '/1 Crash                                          Witness to Test         SGT. SCHEL L

   Oother:                ~ •                                                                                                                                                                                        1/
                                                                                                     1-0010
                                     ~                                                                                                                                                                            f' . ;.
                                     ~                                                                                                                                                                               ~          -
